      Case 1:18-mc-00012-JRH Document 1 Filed 09/05/18 Page 1 of 1



                 IN THE UNITED STATES DISTRICT COURT
            FOR THE SOUTHERN DISTRICT OF GEORGIA



IN RE:       MAGISTRATE JUDGE
            ^SIGNMENTS
            CD
                                                   MISC. NO.      C n 8 - 00 1 2


         5c CO


                                 ORDER


     On September 5, 2018, the Honorable Benjamin W. Cheesbro was
sworn in as the new United States Magistrate Judge for the Southern
District of Georgia, succeeding the Honorable R. Stanley Baker in
Brunswick, Georgia.


     IT IS HEREBY ORDERED, that upon due consideration, unless
otherwise specifically ordered, all magistrate judge case assignments and
referrals previously assigned to Judge Baker are hereby reassigned to
Magistrate Judge Cheesbro.


     This           day of September, 2018.




                                              [al Hall, Cliief Judge
                                              States District Court
                                    Southern District of Georgia
